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                     UNITED STATES COURT OF APPEALS                    FILED
                            FOR THE NINTH CIRCUIT                       JUN 13 2022
                                                                    MOLLY C. DWYER, CLERK
                                                                     U.S. COURT OF APPEALS
JOHN DOE, by his guardian and next friend, No. 21-15668
Susan Doe, on behalf of themselves and all
others similarly situated,                 D.C. No. 4:20-cv-00335-SHR
                                           District of Arizona,
                 Plaintiff-Appellant,      Tucson

 v.                                               ORDER

JAMI SNYDER, Director of the Arizona
Health Care Cost Containment System, in
her official capacity,

                 Defendant-Appellee.

Before: CLIFTON, CALLAHAN, and BRESS, Circuit Judges.

      Plaintiff-appellant’s unopposed motion to transfer consideration of

attorneys’ fees on appeal to the district court is granted.
